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`AO 91 (Rev. ll.'ll) Criminal Complaint
UNITED STATES DISTRICT CoUR1r

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District ofNew'Mexico - ZSSLFEB__ __5 §§ g ge >%/

  

 

 

 

United States of Arnerica ) E§,§ll?l: ’-is;‘x§ CRWH§*B
v. l
Horacio GARMIP ez ) Case NO' iq " gql l -:)_
Jorge cARD )
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befendant(.s')
CRIMINAL COMPLAINT
_ I, the complainant in this ease, state that the following is true`to the best of my knowledge and belief.
On or about the date(s) of February 03, 2014 in the.county Of Luna in the
State and District of New Nlexico , the defendant(s} violated'.
Code Section Oj_?”ense Descrz`pn‘on
18 USC § 922(9)(1) lt shall be unlawful for any person-who has been convicted in any court o_f, a

crime punishable by imprisonment for a term exceeding one year;

to ship or transport in interstate or foreign commerce or possess in or
affecting commercel any firearm or ammunition; or to receive any firearm or
ammunition which has been shipped or transported in interstate or-foreign
commerce

'I`his criminal complaint is based on these facts: ,

d Continued on the attached sheet. K
,€/

Comp.lama14r signature

Eugene E. Ernge, HS| Specia| Agent

Prz'ntea' name and title

 

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Sworn to before me and signed in my presence

.r

Date: l 5

 

 

t Judge 3 signature

City and State; ` Las Cruc>es1 NlVl Shphan M Uited States N|agistrate Judge

Printea' name and rifle

 

 

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CRIMINAL COMPLAINT - CONTINUED

United States of America
VS

Horacio GARCIA-Dominguez
Jorge CARDOZA

Affidavit of Eugene E. Emge

On February 3, 2014, Ofticers from the Deming Police Department (DPD) attempted to make a
vehicle stop on a Dark Blue Ford Expedition bearing NM license plate KDG993. Officers
attempted to stop the vehicle because the registration sticker on the plate was not visible.

Imrnediately after the DPD Officer activated his emergency equipment the vehicle sped off in an
attempt to evade the officer. The vehicle pursuit began near the intersection of E. Ehn St and S.
San Miguel St and continued east on E. Elrn to S. Santa Barbra St where the vehicle turned south
on S. Santa Barbra. The vehicle then turned east on E. Birch St and stopped in the front yard of
1001 E. Birch St at which point the driver of the vehicle, identified as Horacio GARCIA-
Doininguez, exited the vehicle and ran north toward E. Elm, jumping over two residential fences.
GARCIA-Dominguez was apprehended a few minutes later in a residential property at the corner
of S. Santa Barbra St and E. Elrn St. GARClA-Domingu`ez was found to have a glass pipe
commonly used for ingesting illegal narcotics, in his front pocket .

HSI Special Agents (SAS) were at the scene of the vehicle within a minute of the vehicle corning
to a stop and observed the rear driver side passenger, identified as Jo'rge CARDOZA, standing
next to the open rear passenger driver side door holding a ritle. The rifle was later identified as a
Remington .22 long rifle caliber rifle. The rifle was found to_ contain ten live rounds of
ammunition, one of which was in the chamber ready to fire.

A search incident to arrest, of the vehicle, was conducted for ,drugs, paraphernalia, and weapons
HSI SAs located a Tressitu 9mm pistol under the back of the front passenger seat, easily
accessible by the rear passenger or driver of the vehicle

Record Checks regarding GARCIA- -Dominguez’ Criminal History, lmrnigration History and
active Wants and Warrants were run which revealed the following,

GARCIA-Dorninguez was arrested on September 233 2010 by the Deming, New Mexico Police
Department for a Weapon Offense. Bureau of Alcohol Tobacco and Firearms and Explosives
adopted the case from Dem_ing Police Department and prosecuted GARCLA-Dorninguez
federally; who was subsequently sentenced on March 23, 2011 to 33 months’ prison and 3 years
unsupervised release

G_ARCIA-Dorninguez was previously ordered removed on July 18, 2013 and was removed
through Nogales, Arizona. '

 

 

Case 2:14-cr-OlO46-W.] Document 1 Filed 02/05/14 Page 3 of 3
CRIMINAL COMPLAINT - CONTINUED

United States of America
VS

Horacio GARClA-Dominguez
Jorge CARDOZA

Aflidavit of Eugene E. Emge

Record Checks regarding CARDOZA’ s Criminal History and active Wants and Warrants were
run which revealed the following;

CARDOZA was arrested on September 06, 2011 at the Colu.mbus, NM Port of Entry with 19
pounds of marijuana in his vehicle CARDOZA was subsequently prosecuted on NM State

` charges for Distribution of marijuana CARDOZA was found guilty of a felony and sentenced to
18 months prison and one year parole; sentence was suspended and placed on 18 months
supervised probation

CARDOZA was also found to have two outstanding State Magistrate warrants for failure to _
appear and was taken into custody by DPD.

Your affiant is aware that all Remington Fireanns are manufactured at their Firearms Plant in
Ilion, NY and that Tressitu was_manufactured in South Africa in the 1990’5 and thereby the
lfirearms in this case traveled in interstate or foreign commerce

Assistant United States Attorney Alfred Perez was advised of the facts in the case and authorized
Federal prosecution on Horacio GARClA-Dominguez and Jorge CARDOZA for 18 USC §
922(g)(1), that being; it shall be unlawful for any person_who has been convicted in any court
of, a crime punishable by imprisonment for a term exceeding one year; to ship or transport_in
interstate or foreign commerce, or possess in or affecting commerce any firearm or ammunition;
or to receive any firearm or ammunition which has been shipped or transported in interstate or
foreign commerce _

W ,,
Unifed S'thtes Magistrate Judge _ ' Eu§ene_E.Emge §§
prharl M. Vldm&l’ HSI Special Agent

 

